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Hampron.r ar Meirowe.rt Condo. Assac., Inc. v. Park Avenue ar Me!rowesr, Ltd., er ai'.
Case No.: 43-2063-CA-003235-0
Poge 2

and 7?.28, hereby (‘l) file their Answer and Defenses to the Post-Judgment Writs of
Garnishment served on lvlarch 9, 2015 (“Writs"), and (2) demand their costs and
expenses, including a reasonable attorney fee, and Garnishment Deposits, and state:

ANSWER TO WR|T AND
DEN|AND FOR COSTS AND EXPENSES AND GARN|SHMENT DEPOSITS

1. At the time of this Answer, at the time of service of the Writs. or at any
time between such times, Nationwide were not indebted to Defendant, Parlt Avenue at
lvletrowest, Ltd. (“PAM").

2. Nationwide have no tangible or intangible property or personal property of
PAM in their possession or control at the time cf this Answer or at the time of service of
the lillritsl or at any times between such times.

3. Nationwide know of no other person indebted to the PAN| or who may
have any of the property of PAM in its possession or contro|.

4. Nationwide have retained the law Hrm of Berk, Merchant & Sims, PLC to
represent them in this matter and request that they be paid their costs and expenses,
including a reasonable attorney feel as allowed by Fla. Stat. § 77.28.

5. Natlonwide also request. pursuant to Fla. Stat. § 77.28, that P|aintiff pay
the undersigned counsel all applicable $100.00 garnishment deposits for each Writ
made by P|aintiff in the above-styled cause and make check payable to Berk, Merchant

& Sims, F'LC at the undersigned address

 

Casualty and lnsurance Company and Nationwide Mutua| insurance Company, which entities are both
represented by the undersigned counsel. This Answer responds to both Wn'ts.

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Hamptons ar Merrowe.rt Condo. Assoc., Ir:c. v. Par)'r Avenue at Me!rowes!, Ltd., et ai'.
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DEFENSES TO WR|T

Nationwide state the following defenses to the Writs without assuming the burden
of proof on any such defense that would othenivise rest on Plaintiff. and reserving the
right to amend andlor supplement their response to the Writs, as well as the below
avoidances and defenses, as additional information is obtained through any discovery
process or othenivise.

First Defense

Nationwide provided general liability coverage for named insured Epoch
Properties |nc. (“Epoch") under policy number 77 09 PR 590-327-0001, with effective
dates from January 1, 2000 through January 1, 2009. (l-iereinafter “Nationwide
Po|icies") To the extent PAlvl was an insured under the Nationwide Po|icies, there is no
coverage under the Nationwide Po|icies for any liability of PAl‘vl to Plaintiff. As a result
Garnishees are not indebted to PANI.

Second Defense

PAM did not commit acts alleged in the Seventh Amended Compiaint necessary
and sufficient to establish the liability of PAN| to Hamptons. Tnerefore, Nationwide had
no duty to indemnify PAM for any liability predicated upon the claims alleged in the
Seventh Amended Compiaint. As a resu|t, Nationwide has no debt to PAl'vl which could
properly be the subject of the Writ of Garnishment.

Thfrd Defense

The damages claimed by Hamptons, in whole, or, in partI do not constitute

“property damage" under the Nationwide Po|icies. Therefore, Nationwide had no duty to

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Hamptons or Merrowest Condo. Assoc., !nc. v. Park Avenue at Merrowesr, L!d., el u!.
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Page 4

indemnify PAivl for any liability predicated upon those damages

Fourth Defensa

 

Any liability of PAM to Hamptons is not within coverage under the Nationwide
Po|icies to the extent that the liability was imposed for damages which resulted from an
occurrence which did not take place within a period for which there was coverage
Therefore, Nationwide had no duty to indemnify PAivl for any liability predicated upon
those damages

Fffth Defense

Any liability of PAM to Hamptons is not within coverage under the Nationwide
Po|icies to the extent that the liability was imposed for damages which did not arise from
the operations of Epoch. Therefore, Nationwide had no duty to indemnify PAlV| for any
liability predicated upon those damages

Sfxth Defense

Any liability of PAl'vl to Hamptons for damage to the real property on which Epoch
was directly or indirectly performing operations and which arose from those operations
is excluded from coverage under the Nationwide Po|icies Therefore, Nationwide had
no duty to indemnify PAM for any liability predicated upon those damages

Seventh Defense

Any liability of PAl’vl to Hamptons for the particular part of property which needed
to be restored repaired or replaced because “your work” was incorrectly performed on it
is excluded from coverage under the Nationwide Poiicies. Therefore, Nationwide had
no duty to indemnify PANl for any liability predicated upon the cost of such restoration

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Hamptons at Merrowesr Condo. Assoc., !nc. v. Park Avenue or Merroivesf, er., er af.
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Page 5

repair or replacement
Eighth Defense
Any liability of PANI to Hamptons for “Property Damage" to “your worl<" "arising
out of it or any part of it and included in the products completed operations hazard” is
excluded from coverage under the Nationwide Poiicies. Therefore. Nationwide had no
duty to indemnify PAM for any liability predicated upon those damages
Ninth Defense
There is no coverage under the Nationwide Po|icies for any liability imposed on
PAii)l for those causes of action alleged in the Seventh Amended Compiaint R|ed by
Hamptons. or identified in the settlement agreement between PAM and Hamptons
("PAivl Settlement lltgreement")l or in the consent judgment entered against PAM
("Consent Judgment"). Therefore, Nationwide had no duty to indemnify PAM for any
liability predicated upon those causes of action.
Tenth Defense
As Nationwide provided a defense for PAivl to the suit brought by Hamptonsl the
terms of the PAl‘vl Settlement Agreement and the resulting Consent Judgment do not
establish the liability of PAivi to Hamptons for purpose of imposing liability upon
Nationwide to PANl under the Nationwide Policies. As a result, Nationwide had no duty
to indemnify PAN| for any liability incurred by PAM as a result of the PAM Settlement
Agreement or the Consent Judgment.
Eieventh Defense
PAlvl is precluded from any recovery from Nationwide predicated upon the PAM

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Settiement Agreement or resulting Consent Judgment under the "No Action Clause"
contained in the Nationwide Policies. As a result, Nationwide has no debt to PAlvl which
could properly be the subject of the Writ of Garnishrnent.
Tweifth Defense

PANl breached the cooperation clause contained in the Nationwide Po|icies by
entering into the PAlvl Settiement Agreement without the consent of Nationwide. PAM’s
actions materially prejudiced Nationwide, relieving Nationwide of any obligation to make
payment to PAN| under the Nationwide Policies. As a resu|t. Nationwide has no debt to
PAM which could properly be the subject of the Writ of Garnishment.

Thfr'teenth Defense

The $40,000,000 Consent Judgment agreed to by PAN| and Hamptons under the
terms of the PAivl Sett|ement Agreement was not reasonable Nor was it reached in
good faith. As a result, the $40.000,000 Consent Judgment does not establish any
liability of Nationwide to PAlv‘i.

Fourteenth Defense

The PAM Settlement Agreement and the resulting $40,000,000 Consent
Judgment fail to apportion the amount of damages attributable to any liability of PAivi for
which PAM may attempt to seek indemnity from Nationwide. as opposed to any liability
for which there is no coverage under the Nationwide Policies, or for the amount of
damages for which other parties and not PAN|, are responsible The failure to have
apportioned damages precludes any liability of Nationwide to i`-‘AlVl. As a resultl
Nationwide has no debt to PAM which could properly be the subject of the Writ of

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Hamptons ar Merrowa.rt Condo. Assoc., Iiic. v. Prrr!r Avenue ar Merrowerr, er., er a!.
Case No.: 43-2608-€,4-603235-0
Page ?

Garnishment.
Fffteenth Defense
Nationwide is not liable to PANi because under the terms of the PAM Settlement
Agreement, or otherwise, PAM has not, and cannot become legally obligated to pay any
amounts to Hamptons for which it is entitled to indemnity from Nationwide. As a resu|t,
Nationwide has no debt to PAl*vl which could properly be the subject of the Writ of
Garnishment.
Sfxteenth Defense
PAM is not permitted to assert a claim against Nationwide for bad faith unless or
until coverage has been determined if it were to assert such a claim, it should be
abated pending resolution of any coverage issue. As a result1 Nationwide can have no
debt to PANi predicated upon bad faith which could properly be the subject of the Writ of
Garnishment.
Seventeent‘h Defense
Under the terms of the settlement agreement entered into between Epoch and
Hamptons (“Epoch Settlement Agreement") Hamptons is precluded from seeking
recovery from Nationwide in relation to the Hamptons. As a result, the terms of the

Epoch Settlement Agreement preclude any recovery against Nationwide.
Er'ghteenth Defense
Under the doctrine of Judicial Estoppei. F’Al'v’l, and any assignee of PAM, are
precluded from seeking indemnity from Nationwide based upon those causes of action
as to which PAM previously moved for, and obtained, an order of dismissal or summary

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judgment in its favor.

Reservatlon of Rr'gh ts

Nationwide reserve their right to amend these defenses to the extent allowable
under F|orida law. Nationwide also reserve their right to seek attorneys' fees, costs,
and any other relief this Court deems necessary and just under the circumstances

Respectfully submitted,

BERK, MERcHANr & Siivis, PLC

/‘s/Meifss§_M. Sims

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Counsel for Gamfshee, Nationwide
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Nationwide Mutual lns. Co.

CERT|FICATE OF SERVICE
l HEREBY CERT|FY that a true and correct copy of the foregoing has been

furnished by and to the emai|s listed below as well as to the ones listed on the Court's

e-Portal service list, on this 25th day of iviarch 2015, to:

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Page 9

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/s/Melissa M. Sr'ms
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HAMPTONS AT METROWEST case No.: 43-2008-CA-003235-0

coNDoiviINnn\/i AssociATIoN, INC., BUSINESS L1T1GAT10N

DIVISIoN
Piaimie;
V.

PARK AVENUE AT l\/[ETROWEST,
LTD., et al.

Defendants. /
And successive actions /

PLAINTIFF’S REPLY IN SUPPORT OF GARNISHMENT
AGAINST NATIONWIDE PROPERTY AND CASUALTY INSURANCE
COMPANY AND NATIONWID]§JL MUTUAL INSURANCE COMPANY
AN]) MOTION TO STRIKE AFFIRM_ATIVE DEFENSE§
in reply to Nationwide Property and Casualty Insurance Company and
Nationwide Mutual Insurance Company’s (collectively “Nationwide”) Answer and

Affirmative Dei"enses to Post-Judgment Writ of Garnishment (“Nationwide
Answer”), Hamptons at Metrowest Condominium Association, lnc. (“Plaintiff” or
the “Association”), responds as follows:

l.

Plaintiff contests and denies all contentions in Nationwide’s Answer

indicating that Nationwide does not have property belonging to Det`endant Park

EXHIBIT

' § e

 

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Avenue at Metrowest, Ltd. (“PAM”). Specifically, Nationwide has insurance
policies that provide coverage for PAM’s liability.
2.

Nationwide is not entitled to attorney fees pursuant to Fla. Stat. §77.28.
Florida law does not provide for attorney fees to a garnishee when the garnishee’s
contest of a garnishment proceeding is for the benefit of the garnishee and not the
debtor/defendant

3.

Plaintiff denies and contests Nationwide’s Second, Tenth, and Fifteenth
Defenses. PAM’s liability has been established pursuant to the Consent Final
Judgment. Plaintil`f asserts Nationwide’s insurance policies provide coverage for
PAM’s liability and Nationwide is liable for the $40,000,000 Judgment against
PAM.

4.

Plaintit`f denies and contest Nationwide’s Eleventh and Tweltth Defenses.
Nationwide breached the insurance contracts with PAM and therefore the policy
provisions referenced are not applicable PAM did not breach the provisions
referenced and PAM was not required to obtain Nationwidc’s consent to settle.
Plaintif`f asserts Nationwide’s insurance policies provide coverage for PAM’$

liability and Nationwide is liable for the $40,000,000 Judgment against PAM.

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5..

Plaintiff denies and contests Nationwide’s Seventeenth Defense. Plaintiff’s
agreement with Epoch Properties, Inc. has no bearing on Nationwide’s coverage
for PAM’s liability.

6.

Plaintiff moves to strike Nationwide’s Sixteenth Defense as “abatement” is

not an affirmative defense
7.

Plaintiff moves to strike Nationwide’s First, Third, Fourth, Fifth, Sixth,
Seventh, Eighth, Ninth, Thirteenth, Fourteenth, Eighteenth, and “Reservation of
Rights” Defenses. Florida law requires an affirmative defense to be pled with
specificity Zito v. Washington Federal Savings & Loan Assoc. of Miami Beach,
318 So.2d 175, 176 (Fla. 3d DCA 1975). This is to reasonably inform the
adversary and provide them with a fair opportunity to prepare a response ld.
Affirmative defenses which are legally insufficient fail as a matter of law and
should be stricken. Valdes v. Lambert, 568 So.2d 117, 118 (Fla. 5th DCA
1990)(aff1rmed trial court’s striking affirmative defense of laches stating, “[t]he
dcfense, as pled, was conclusory and set forth no ultimate facts showing that the

plaintiff was barred by laches.”); see also _Zlg, 318 So.2d at 176-77 (certainty is

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required when pleading defenses, and pleading conclusions of law unsupported by
allegations of ultimate facts is legally insufficient).

Nationwide fails to allege any ultimate facts establishing the above
referenced Defenses. As such, the conclusory statements are insufficient and said
Defenses should be stricken

Alternatively, if the Court denies Piaintiff's motion to strike, Plaintiff asserts
the following:

8.

Plaintiff denies and contests Nationwide’s First, Third, Fourth, Fifth, Sixth,
Seventh, Eighth, Ninth, Eighteenth, and “Reservation of Rights” Defenses.
Speciflcally, Plaintiff asserts Nationwide’s insurance policy provides coverage for
PAM’s liability and no policy exclusions or other policy defenses apply.

9...

Plaintiff denies and contests Nationwide’s Fifth Defense. PAM’s liability
arises out of Epoch Properties, lnc.’s operations pursuant to Nationwide’s policies
and Florida law and is therefore covered by Nationwide’s policies

10.

Plaintiff denies and contests Nationwide’s Thirteenth and Fourteenth

Defenses

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ADDITIONAL ALLEGATIONS IN SUPPORT OF
WRI'I` OF GARNISHMENT

Pursuant to Fla. Stat. §77.061, Plaintiff provides the following additional

allegations in support of its Writ of Garnishment:
11.

Plaintiff is a Florida corporation and has an office for the transaction of its

usual and customary business in Orange County, Florida.
12.

Nationwide on information and belief, is an Ohio company. Nationwide is
an authorized insurance provider in Florida. As a condition of selling insurance in
Florida, Nationwide has submitted to the jurisdiction of Florida courts. Nationwide
has appointed the Chief Financial Officer of Florida as its resident agent for the
purpose of receiving service of process

13.

Plaintiff filed the present lawsuit against, among others, PAM. PAM was the

developer of the Hamptons at Metrowest project located in Orlando, Florida.
14.

Nationwide issued an insurance policy (77 09 PR 590-327-0001) for the
policy period 1/1/00 to 1/1/09 (the “Policy”). The Policy provides named insured
coverage for Epoch Properties, Inc. The Poiicy specifically names PAM as an

insured. According to the terms of the Policy, Nationwide agreed, among other

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things, to defend its named insureds and insureds against any claim alleging

property damage covered by the Policy and to pay those sums that the named

insureds and insureds became legally obligated to pay because of property damage
15.

The present lawsuit alleges that PAM’s actions and/or omissions resulted in
property damage to the Hamptons at Metrowest project. The allegations qualify as
an “occurrence” as defined by the Policy. The allegations indicate that property
damage occurred during Nationwide’s policy period. The allegations triggered
Nationwide’s duty to defend PAM.

16..

Nationwide received timely tender of the claims against PAM. Nationwide
accepted the defense only of PAM on February 11, 2011. Nationwide
unambiguously informed PAM that Nationwide would not be paying any
indemnity on behalf of PAM.

1'7.

Because one or more of PAM’s carriers denied coverage, including
Nationwide PAM reasonably resolved its liability by way of a Coblenrz settlement
agreement According to the terms of the agreement, Plaintiff was entitled to a
$40,000,000 consentjudgment against PAM. A Consent Final Judgment was

entered against PAM and in favor of Plaintiff in the amount of $40,000,000.

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18..

Based on the allegations in the complaint, the settlement agreement entered
into by PAM, and the facts supporting both, PAM’s liability arises out of the
operations of Epoch Properties, Inc. and Nationwide, therefore, has a duty to
indemnify PAM.

19.

Pursuant to Fla. Stat. 77.08, Plaintiff requests ajury trial on all issues triable

to ajury.

FIRST CLAIM FOR RELIEF
(BREACH ()F CON'I`RACT)

20.

Plaintiffrealleges paragraph 1 l-19 above

21.

Nationwide breached its contract by refusing to indemnify PAM. PAM has
complied with and satisfied all conditions precedent in the Policy (if any), except
any that were excused, waived, or that do not need to be performed because
Nationwide will not be prejudiced by non-performance

22.

As a result ofNationwide’s breach of the duty to indemnify, Plaintiff is

entitled to the total policy limits of the Policy. On information and belief, the

Policy has $l 1,000,000 in coverage limits

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23.

Nationwide’s breach of contract has compelled Plaintiff to commence these
garnishment proceedings and to incur attorney fees in order to obtain the full
benefit of the insurance policies Pursuant to the terms of the settlement agreement,
Plaintiff is entitled to its attorney fees pursuant to Fla. Stat. §627.428.

WHEREFORE, Plaintiff prays forjudgment against Nationwide Property
and Casualty Insurance Company and Nationwide Mutual Insurance Company as
follows:

(a) The total policy limits available under the Policy;

(b) Plaintiff’s attorney fees and costs;

(c) Any other relief the court deemsjust and/or equitable

§_r_:CoNo CLAIM FOR RELIEF
(BAD FAITH)

24.

Plaintiff realleges paragraphs 9-23 above

25.

Nationwide committed bad faith and/or breached the duty of good faith and
fair dealing by wrongfully denying coverage Nationwide Was obligated to resolve,
or attempt to resolve, PAM’s liability once liability became reasonably clear.
Nationwide attended the mediations in this lawsuit. Nationwide made no effort to

resolve the claims against PAM. Nationwide did not offer any funds to settle

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PAM’s liability. Nationwide refused to litigate the coverage issues before the
entry of a 840,000,000 excess judgment was entered against its insured, PAM.
26.

Because ofNationwide’s bad faith, PAM is exposed to a $40,000,000 excess
judgment and suffered consequential damages resulting therefrom. Plaintiff is
entitled to recover 840,000,000 on behalf of PAM.

27.

Nationwide’s bad faith has compelled Plaintiff to commence these
garnishment proceedings and to incur attorney fees in order to obtain the full
benefit of the insurance policies Pursuant to the terms of the settlement agreement,
Plaintiff is entitled to its attorney fees pursuant to Fla. Stat. §627.428.

WHEREFORE, Plaintiff prays forjudgment against Nationwide Property
and Casualty Insurance Company and Nationwide Mutual Insurance Company as
follows:

(a) 840,000,000 for PAM’s liability;

(b) Consequentlal damages and all other damages permissible under law;

(c) Plaintiff’s attorney fees and costs; and

(d) Any other relief the court deems just and/or equitable

DATED: April 14, 2015.

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METROWEST CONDOMINIUM
ASSOCIATION, INC.

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CERTIFICATE OF SERVICE
l certify that a true copy of the foregoing has been served upon the ECF

Participants via:

E-mail (to those with email addresses listed below)

[:l Overnight delivery

I further certify that a true copy of the foregoing was provided to the

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|N THE ClRCU|T COURT OF THE 9TH
JUD|C|AL ClRCU|T, |N AND FOR
ORANGE COUNTY, FLOR|DA
BUS|NESS LlTlGAT|ON DlV|S|ON
CASE NO.: 48-2008-CA-008235-0

HAMPTONS AT METROWEST

CONDONI|N\UN| ASSOC|AT|ON, |NC.,

Plaintiff,

V.

PARK AVENUE AT METROWEST,
LTD.l et al.,

Defendants.
HAMPTONS AT METROWEST
CONDOM|N!UM ASSOC|AT|ON, |NC.,
Plaintiff!Garnishor,
v.
NAT|ONW|DE PROPERTY AND
CASUALTY INSURANCE COMPANY
AND NAT|ONW|DE MUTUAL lNSURANCE
COMPANY,

Gamishees.
t

DEFENDANT NATlONWlDE PROPERTY lNSURANCE CON|PANY AND
NATIONWIDE N|UTUAL |NSURANCE COMPAN‘(’S
NOT|CE OF FlLlNG OF NOT|C§ OF REMOVAL
PLEASE TAKE NOT|CE that Defendanis, NAT|ONW|DE PROPERTY
INSURANCE COMPANY and NAT|ONWlDE lNSURANCE COMPANY'S ("Defendants")

have filed a Notice of Removal in the Office of the Clerk of the United States District

l_’,J_-'in<_, M I;RCHANT ease Sims
I'L\..'

2 ALHAMaRA PLAZA. SurrE ?00 ¢ CORAL GABLES. Fl_oalnn 33134 a PHONE: ?86.333,2900 a Fsz 786,338.2-

 

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Hamptons at Metrowest Condo. Assoc., inc. v. Park Avenue at Motrowest, Ltd., er a!.
Case No.: 48-2008-CA-008235-0
Page 2

Court for the Middle District of Florida, Or|ando Division. A copy of that Notice of
Removal is attached as Exhibit “".A

PLEASE TAKE FURTHER NOT|CE that, pursuant to 28 U-S.C. §1446, the filing
of the Notice of Removal in the United States District Court for the Middle District of
Florida, Ortanclo Division, together with the filing of that Notice with the Clerk of this
Court, effects the removal of the above-styled action to the United States District Court,

and this Court may proceed no further unless and until the case is remanded

Resp ul|yr su itted,
B K, MS|MS,PLC

Meli sa\iu. simereN: 35936

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CERTlF|CATE OF SE_RVlC§

Thls is to certify that a true and correct copy of the above end foregoing
instrument is being served upon counsel for Plaintiff, U.S. Mail and e-mail in accordance
with the Federa| Ru|es of Civi| Procedure on this 11th day of lvlay, 2015 as follows:

BF_RK, MERCHAN']‘ |es¢| SlIMs
l‘ 35

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Hamptons at Metrowest Condo. Assoc., Inc. v. Park Avenue at Metrowest, Ltd., et at
Case No.: 48-2008-CA-008235-0
Page 3

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